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                 IN THE UNITED STATES DISTRICT COURT
                       NORTHERN DISTRICT OF GEORGIA
                            ATLANTA DIVISION
KIRK MICHAEL FIELDS,                 :
Inmate No. 99001885                  :
                                     :
      Plaintiff,                     :
vs.                                  : CIVIL ACTION No.
                                     : 1:22-cv-036824-LMM-JKL
GWINNETT COUNTY POLICE               :
OFFICER HOWSE et al                  :
                                     :
      Defendants.                    :

PLAINTIFF’S MOTION FOR LEAVE TO FILE RESPONSE TO MOTION
         TO DISMISS [DOC 33] AND LEAVE TO AMEND

      Plaintiff moves for leave to file a Response to the Motion to Dismiss [Doc

33] and leave to amend, incorporating the below documents as follows:

                           STATEMENT OF FACTS

      1.    Plaintiff filed a pro-se Complaint raising civil rights claims for

[Doc 1] who appeared in that capacity during most of this action.

      2.    Several months later, Defendants were served and appeared in this

matter who then filed Motions to Dismiss, granted and denied in part per the Order

[Doc 27]. The Court granted a further extension of time to Defendant Smith per his

motion and the Order [Doc 30] which Plaintiff did not receive [Doc 31]

      3.    Plaintiff’s Motion for Appointment of Counsel was granted for Mr.

Wersant who then appeared in this matter [Doc 32] after which Defendant Smith
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filed his second Motion to Dismiss [Doc 33] which was inadvertently diverted to a

spam folder of which Plaintiff’s counsel became aware today, who intends to move

to amend or file an amended complaint as a matter of right per Fed. R. Civ. P. 15

      4.     Plaintiff’s counsel requests a 10-day extension to confer further with

his client to respond the Motion or file an Amended Complaint or both.

      5.     This relief will not delay this case or prejudice any party.

      6.     Plaintiff reserves the right to further address these issues.

                                 MEMORANDUM

      The Court is requested to take notice of these matters per Fed. R. Evid. 201

which may grant the relief sought. “[It is “incidental to the power inherent in every

court to control the disposition of the causes on its docket with economy of time

and effort for itself, for counsel, and for litigants.” Landis v. N. Am. Co., 299 U.S.

248, 254, 57 S. Ct. 163, 166, (1936) [discussed court’s authority to stay case]

       First, the extension or leave can be granted for good cause which exists here

and will not prejudice a party or delay this case. Pioneer Inv. Servs. v. Brunswick

Assoc. Ltd Pship, 507 U.S. 395 (1993). [permitted late proof of claim which did not

prejudice opponent or delay case] See Buford v. City of Atlanta, LEXIS 166286

(N.D. Ga. 2011) [permitted amended response to motion, filed 4 days after deadline,

which did not prejudice adversary] This Court exercised its discretion to consider a

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response to a motion filed a week late, which did not prejudice any party at that

stage of that case. Spence v. Family Dollar Stores of Ga., LLC, LEXIS 120586, *2,

WL 2660145 (N.D. Ga. 2021)

      Second, this relief should also be granted for this case which Plaintiff

promptly prosecuted and seeks to adjudicate on the merits regardless of this minor

procedural default. This Circuit has a “strong policy of determining cases on

their merits” and disfavors resolutions by mere procedural defaults. Gulf Coast

Fans v. Midwest Elecs. Imps., 740 F.2d 1499, 1510-11 (11th Cir.1984)); Seven

Elves v. Eskenazi, 635 F.2d 396, 401-02 (5th Cir. Unit A Jan. 1981) [balancing of

desire to preserve finality of judgments with the desire f or judgments reflect

case merits]; Valdez v. Feltman (In re Worldwide Web Sys.), 328 F.3d 1291,

1295 (11th Cir, 2003); Cf. Banco Continental v. Curtiss Nat'l Bank of Miami

Springs,406 F.2d 510, 514 (5th Cir. 1969) [“purpose of Federal Rules is to allow a

plaintiff the opportunity to have his case adjudicated on the actual facts and not to

be precluded by strict procedural technicalities.”] Foman v. Davis, 371 U.S. 178,

181-82, 83 S. Ct. 227 (1962) [“The Federal Rules reject the approach that

pleading is a game of skill in which one misstep by counsel may be decisive to the

outcome and accept the principle that the purpose of pleading is to facilitate a

proper decision on the merits.”]

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     Third, leave to amend should be granted as follows:

     Under Rule 15, the Court “should freely give leave [to amend] when
     justice so requires.” Fed. R. Civ. P. 15(a)(2). Importantly, the Court
     "should generally exercise their discretion in favor of allowing
     amendments to reach the merits of a dispute.” Pinnacle Advert. &
     Mktg. Grp. Inc. v. Pinnacle Advert. & Mktg. Group, LLC, 7 F.4th
     989, 1000 (11th Cir. 2021). Moreover, the Supreme Court has
     clarified that Rule 15(a)(2)'s language allowing the district court to
     "freely give leave [to amend] when justice so requires" is a "mandate .
     . . to be heeded.” Foman v. Davis, 371 U.S. 178, 182, 83 S. Ct. 227, 9
     L. Ed. 2d 222 (1962). However, a district court need not give leave to
     amend "(1) where there has been undue delay, bad faith, dilatory
     motive, or repeated failure to cure deficiencies by amendments
     previously allowed; (2) where allowing amendment would cause
     undue prejudice to the opposing party; or (3) where amendment would
     be futile." Bryant v. Dupree, 252 F.3d 1161, 1163 (11th Cir. 2001).
     This Court does not find any circumstances warranting denial of leave
     to amend in this matter for three reasons: (1) the Court does not find
     undue delay, bad faith, or dilatory motive, and there has been no
     repeated failure to cure previous deficiencies; (2) allowing the
     amendment will not cause undue prejudice to Hi-Tech; and (3) the
     amendment does not appear to be futile.” Hi-Tech Pharms., Inc. v.
     Procaps Labs., Inc., LEXIS 239079, *6-9 (N.D. Ga. 2022)

     This matter should be decided on the merits requiring this relief

                                CONCLUSION

     WHEREFORE, Plaintiff respectfully prays for the following relief:

     (a)   Leave to file its Response to the Motion to Dismiss [Doc 32] or

Amended Complaint or both within 10 days.

     (b)   All other just and proper relief.


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                            CERTIFICATE OF SERVICE

      I certify a precise copy of this document was filed ECF on the below date

sending notice to counsel of record.

            Respectfully submitted this 21st day of April 2023
                 By: /s/Paul G. Wersant
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